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 JMK/AES
 F. #2014R00501

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------X

 UNITED STATES OF AMERICA

       - against -                               15 CR 637 (KAM)

 MARTIN SHKRELI,

                     Defendant.

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                   THE GOVERNMENT’S MEMORANDUM OF LAW
            IN OPPOSITION TO THE DEFENDANT’S MOTION FOR RELEASE




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                The government respectfully submits this memorandum of law in opposition to

 the motion for release filed by defendant Martin Shkreli on April 22, 2020. (See Shkreli’s

 Motion for Release (“Shkreli Mot.”), Dkt. No. 729).

                                 PRELIMINARY STATEMENT

                Shkreli, who engaged in four sophisticated and long-running fraud schemes that

 defrauded investors in his hedge funds and a public company of more than $10 million, whose

 conviction was affirmed on appeal and who has served less than half of his 84-month sentence,

 who is 37 years old with no medical conditions and currently at a facility with no known cases of

 inmates or staff with COVID-19, and who committed multiple disciplinary violations while

 incarcerated, now moves this Court to release him immediately and permanently from prison, on

 the ground that he is at a greater risk than his fellow inmates for complications in the event that

 he were to get COVID-19. That motion should be denied for multiple reasons.

                As an initial matter, the Court lacks authority to order Shkreli’s release at this

 time, because he has not exhausted his administrative remedies. The defendant’s claim that the

 Court may simply excuse or ignore the exhaustion requirement is wrong. See United States v.

 Raia, No. 20-1033, --- F.3d ---, 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020).

                Moreover, Shkreli has not met his burden to demonstrate that he, personally and

 individually, falls into the narrow band of inmates for whom “extraordinary and compelling

 reasons” warrant immediate and permanent release. 18 U.S.C. § 3582(c)(1)(A). Unlike many

 others who have moved for release in recent days and weeks, Shkreli is young and in good

 health, has no documented medical conditions that could put him at increased risk of suffering

 complications from COVID-19 and is housed at a facility with no known cases of inmates or

 staff with COVID-19.



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                In any event, even if Shkreli could meet his burden to show that release is

 permitted—which he cannot—it would nevertheless remain unwarranted. The same Section

 3553(a) factors considered at sentencing should be considered in weighing a motion for release.

 Here, Shkreli has served less than half his sentence for a series of serious, wide-ranging fraud

 schemes. He was remanded to prison for violating his bail conditions by making threats to

 public figures, and has continued to demonstrate his disdain for the criminal justice system while

 in prison, mocking his own sentencing process in emails from jail and committing disciplinary

 violations while incarcerated. Furthermore, there is no basis to believe Shkreli’s self-serving

 contention that his release would benefit society because he will be able to develop a “cure” for

 COVID-19; to the contrary, Shkreli is best known for pricing a life-saving drug beyond the reach

 of ordinary Americans. Release would not be commensurate with a balancing of these Section

 3553(a) factors.

                                   FACTUAL BACKGROUND

                The Court is extremely familiar with the offense conduct in this case, having

 presided over not only Shkreli’s six-week trial in the summer of 2017, but also the eleven-week

 trial of Shkreli’s co-defendant, Evan Greebel, in the fall of 2017. In its February 26, 2018

 Memorandum and Order denying Shkreli’s Rule 29 motion (Dkt. No. 535), the Court detailed at

 length the key evidence supporting the jury’s guilty verdict on Counts Three, Six and Eight, as

 well as the evidence demonstrating that the government proved Shkreli’s guilt on Count Seven

 by a preponderance. In addition, a comprehensive overview of the offense conduct is set forth in

 the Pre-Sentence Investigation Report dated December 12, 2017 (“PSR”) (see PSR ¶¶ 7-40) and

 in the government’s sentencing submission (see Dkt. No. 549). The following is therefore

 intended to provide only a high-level overview of the basic facts of the four fraudulent schemes



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 with which Shkreli was charged and proven criminally culpable, either due to a jury verdict of

 guilty or the Court’s finding that the government proved Shkreli’s participation in the fraud by a

 preponderance of the evidence, as well as additional information about the case’s procedural

 history as well as Shkreli’s conduct leading to court sanctions, his disciplinary issues during

 incarceration and his health.

 I.     Shkreli’s Offense Conduct and Trial Conviction

                On December 14, 2015, a grand jury in the Eastern District of New York returned

 an indictment against Martin Shkreli and his co-conspirator Evan Greebel. The indictment

 charged Shkreli with seven counts for his participation in three fraud schemes involving MSMB

 Capital Management LP (“MSMB Capital Scheme”), MSMB Healthcare Management LP

 (“MSMB Healthcare Scheme”) and Retrophin, Inc. (“Retrophin Theft Scheme”). On June 3,

 2016, a grand jury in the Eastern District of New York returned a superseding indictment against

 Shkreli and Greebel, which charged both defendants with an additional count for their

 participation in a fourth fraud scheme (the “Retrophin Unrestricted Shares Scheme”).

                For the MSMB Capital and MSMB Healthcare Schemes, Shkreli was charged

 with conspiracy to commit securities fraud, in violation of 18 U.S.C. § 371 (Counts One and

 Four), conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349 (Counts Two and Five),

 and securities fraud, in violation of 15 U.S.C. §§ 78j(b) and 78ff (Counts Three and Six), for

 defrauding investors in the hedge funds MSMB Capital Management LP (“MSMB Capital”) and

 MSMB Healthcare Management LP (“MSMB Healthcare”) (together, the “MSMB Funds”) by

 making material misrepresentations and omissions to both induce investment in, and prevent

 redemptions from, the MSMB Funds. For the Retrophin Theft Scheme, Shkreli and Greebel

 were charged with conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349 (Count



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 Seven), for defrauding the public pharmaceutical company Retrophin, Inc. (“Retrophin”) by

 misappropriating its assets. For the Retrophin Unrestricted Shares Scheme, Shkreli and Greebel

 were charged with conspiracy to commit securities fraud, in violation of 18 U.S.C. § 371 (Count

 Eight), for defrauding investors and potential investors in Retrophin by seeking to control the

 price and trading volume of Retrophin shares through Shkreli’s beneficial ownership of almost

 all of Retrophin’s unrestricted shares.

                Shkreli’s trial commenced on June 26, 2017. The government introduced

 approximately 800 exhibits and the testimony of 24 witnesses. The government’s evidence

 established the following facts:

           Shkreli founded MSMB Capital in 2009, which purported to be a hedge fund focused
            on healthcare stocks. Shkreli made material misrepresentations and omissions to
            MSMB Capital investors to induce investment and to prevent redemptions.
            Ultimately, Shkreli either stole or lost through unauthorized trading all of the money
            invested in MSMB Capital, but failed to disclose those losses to investors. As a result
            of his lies to MSMB Capital investors, Shkreli obtained and retained almost $3
            million.

           In February 2011, after Shkreli lost all of the money in MSMB Capital, he started
            another hedge fund called MSMB Healthcare. At the same time, he started
            Retrophin, the pharmaceutical company.

           Shkreli made misrepresentations and omissions to MSMB Healthcare investors to
            induce investment in the fund and to prevent redemptions. Shkreli’s trading caused
            MSMB Healthcare to lose money, and he ultimately used MSMB Healthcare solely
            as a conduit to funnel money from MSMB Healthcare investors — who falsely
            believed they were investing in a long-short hedge fund — to Retrophin. Shkreli also
            stole money from MSMB Healthcare for his own personal use. As a result of these
            lies, Shkreli obtained and retained approximately $3.4 million in funds from MSMB
            Healthcare investors.

           To continue to conceal the MSMB Capital and MSMB Healthcare frauds, Shkreli,
            Greebel and others undertook a third fraud to pay off disgruntled MSMB Funds’
            investors. That fraud involved backdating documents to give the false appearance
            that MSMB Capital had invested in Retrophin, and stealing money and shares from
            Retrophin via settlement and sham consulting agreements to give to investors. In
            total, Shkreli, Greebel and others conspired to steal approximately $10.4 million in
            money and shares from Retrophin through the settlement and sham consulting


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             agreements to repay debts to investors owed solely by Shkreli, MSMB Capital and
             MSMB Healthcare.

            In the fourth fraud scheme, Shkreli, Greebel and others conspired to manipulate the
             price and trading volume of Retrophin’s stock. In December 2012, Shkreli and
             Greebel took Retrophin public via a reverse merger with the shell company Desert
             Gateway, which was selected because it came with a promissory note that would
             convert to 2.5 million free-trading shares following the merger. Prior to the merger,
             Shkreli selected seven associates, and he and Greebel arranged for them to purchase
             2.4 million of the 2.5 million free-trading shares (known as “Fearnow shares”) from
             the holder of the note at a deeply discounted price. Shkreli and Greebel subsequently
             concealed Shkreli’s beneficial ownership of those shares, which they used to seek to
             control — and in some instances, were successful in controlling — the price and
             trading volume of Retrophin’s stock.

                 On August 4, 2017, the jury returned a verdict of guilty on Counts Three, Six and

 Eight. Subsequently, on February 26, 2018, the Court concluded that the government had proven

 Shkreli guilty of Count Seven by a preponderance of the evidence. (See Dkt. No. 535 at 89).

 II.     Shkreli’s Additional Conduct That Resulted in Court Sanctions, Including Remand

                 In addition to the offense conduct outlined above, there were two incidents of

 additional conduct that resulted in the Court sanctioning Shkreli either during or shortly after

 trial: his deliberate attempts to disrupt the trial and, post-verdict, his escalating online threats to

 various women, including Secretary Hillary Clinton and journalist Lauren Duca, which

 constituted a violation of his bail conditions and resulted in Shkreli being remanded into custody.

                 First, since his indictment, Shkreli has consistently made public statements

 indicated his lack of respect for the law or the criminal justice system. For example, in

 November 2016, Shkreli told the Financial Times that his plan was to make the case “more

 polarizing and popular” by creating a circus-like atmosphere in order to obtain an acquittal,

 similar to the trials of OJ Simpson, Casey Anthony and Sean “P Diddy” Combs, all of whom

 were found not guilty under similar circumstances. (See Dkt. No. 160, Ex. 12). In the same

 article, Shkreli stated he was “spending millions to influence the jury pool in Brooklyn.” (Id.).


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 Once the jury was selected and empaneled, Shkreli embarked on a campaign of disruption by

 commenting on trial evidence and witnesses to the press and on social media, and by making a

 spectacle of himself and the trial directly on the courthouse grounds. During the lunch break on

 June 30, 2017, Shkreli paid a highly-publicized visit to reporters and members of the public in

 the overflow viewing room, which was located on the same floor of the courthouse as the trial

 courtroom. Among other things, Shkreli repeatedly commented on evidence the jury had heard

 the day before and the credibility of testifying witnesses, and made inappropriate personal

 attacks on current and former prosecutors in the case. (See Dkt. No. 261). Following the end of

 the court day on June 30, 2017, Shkreli and his counsel were interviewed on camera by a

 journalist as they exited the door of the courthouse; during that interview, Shkreli interrupted a

 question posed to counsel and stated, referring to himself in the third person, “He’ll do whatever

 he wants.” (See id.). Subsequently, the government made a motion to limit Shkreli’s

 extrajudicial statements in the courthouse and the Court reprimanded Shkreli for his actions, and

 then required Shkreli to refrain from speaking about the case during the pendency of the trial

 within and near the courthouse. (See Trial Tr. at 1475-87).

                Second, Shkreli made at least two public threats of violence against women. On

 July 27, 2017—on the eve of the final closing arguments—Shkreli made the following

 statements on Facebook: “Trial’s over tomorrow, bitches. Then if I’m acquitted, I get to fuck

 Lauren Duca[.]” Shkreli also stated “And Anna Kasperian, she’s pretty hot,” referring to a

 political pundit. Shkreli’s previous harassment of Duca had led to him being permanently

 banned from Twitter in January 2017. Thus, just as the case was to be submitted to the jury,

 Shkreli made a public threat of sexual violence against two women whom he disliked and with

 whom he had feuded in the past. (See Dkt. No. 362). Shkreli’s threats subsequently escalated



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 following his conviction. On September 5, 2017, Shkreli posted on Facebook that he would pay

 $5,000 to anyone who assaulted Secretary Clinton to steal some of her hair. Specifically, the

 post stated that “on HRC’s book tour, try to grab a hair from her. I must confirm the sequences I

 have. Will pay $5,000 per hair obtained from Hillary Clinton. Payment after the sequence

 matches. Good luck, patrollers.” Shkreli’s threat was widely circulated in the media, and was

 posted right before Secretary Clinton was scheduled to begin a tour to promote a new book,

 during which she is scheduled to make numerous public appearances. As a result of Shkreli’s

 threat, the Secret Service launched an investigation and expended significant additional resources

 to ensure Secretary Clinton’s protection. In connection with that investigation, the Secret

 Service sought to interview Shkreli. He declined, and subsequently posted a message on

 Facebook that revealed that he did not take his actions or their consequences seriously: “The

 Secret Service has requested an interview with me. I am declining that interview—schedule is

 full.” (See Dkt. No. 362).

                On September 13, 2017, the Court revoked Shkreli’s bail and remanded him to

 custody of the Federal Bureau of Prisons (“BOP”) for violating conditions of his release pursuant

 to 18 U.S.C. § 3143. Specifically, the Court found that Shkreli could not show by clear and

 convincing evidence that “he does not pose a danger to the safety of any other person and the

 community.” (Order dated September 13, 2017, Dkt. No. 367).

                Even after Shkreli was remanded, he continued to express his disdain for his

 conviction, the process by which he would be sentenced and the idea of expressing remorse. For

 example, in an email conversation from jail in January 2018, Shkreli made the statement “fuck

 the feds” and joked about skipping the forfeiture hearing in the case. (See Dkt No. 549 at 45).

 Similarly, an individual corresponding with Shkreli by email in November and December 2017



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 warned Shkreli that “Getting convicted and acting out on social media doesn’t imply you’re

 taking things very seriously.” (Id. at 46). Shkreli responded by explaining that because he

 believed the loss amount for the United States Sentencing Guidelines (“U.S.S.G.” or the

 “Guidelines”) would be zero, his sentence would be extremely low such that any expression of

 remorse was not required: “[W]e really feel strongly there’s no loss here … so all the lack of

 remorse in the world doesn’t change the numbers. [The judge is] not going to upward depart.”

 (Id.).

 III.     Shkreli’s Sentencing and Appeal

                On March 9, 2018, the Court sentenced Shkreli to 84 months’ imprisonment on

 Counts Three and Six and 60 months’ imprisonment on Count Eight, to run concurrently, a

 $75,000 fine and a total forfeiture money judgment amount of $7,360,450, to be partially

 satisfied by various substitute assets. The Court stated it would determine restitution at a later

 date. Judgment was entered on March 26, 2018.

                On April 9, 2018, the court found that Shkreli owed defrauded MSMB Healthcare

 investor Richard Kocher $388,336.49 in restitution. On April 17, 2018, the court entered an

 amended judgment reflecting the restitution order.

                Shkreli appealed his trial conviction, arguing that the Court erred by including a

 “no ultimate harm” jury instruction, and also challenged the Court’s forfeiture calculation. On

 July 18, 2019, the Second Circuit affirmed both the conviction and the order of forfeiture in a

 summary order, finding that there was a factual basis for the “no ultimate harm” instruction and

 that such instruction properly stated the law, and also finding that the Court had correctly

 calculated forfeiture. (See United States v. Shkreli, 18-819 (2d Cir. Jul. 18, 2019)).




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                Shkreli subsequently filed for a writ of certiorari with the Supreme Court. That

 writ was denied on November 18, 2019.

 IV.    Shkreli’s Disciplinary Violations During Incarceration

                Since Shkreli’s incarceration for violating his bail conditions in September 2017,1

 he has committed several disciplinary violations. On May 1, 2018, Shkreli was absent from an

 assignment, resulting in a loss of email privileges for 30 days. (See Probation Response

 Memorandum dated April 27, 2020 (“Probation Resp.”) at 2). On May 2, 2018, Shkreli refused

 a work or program assignment and also refused a direct order, resulting in the loss of visitation

 privileges for 30 days. (Id.). On June 17, 2019, Shkreli sent mail to another inmate via a third

 party without authorization, resulting in loss of 15 days’ good time conduct; loss of commissary

 privileges for three months; and loss of email privileges for one month. (Id.). And on August 2,

 2019, Shkreli solicited funds via mail and a phone call that were funneled to another inmate,

 resulting in a loss of commissary and telephone privileges for three months. (Id.).

 V.     Shkreli’s Physical Health

                At the time that Shkreli was sentenced by this Court in March 2018, he confirmed

 to Probation that he had “no history of serious medical problems.” (PSR ¶ 88). He did not

 report that he currently had, or had ever previously had, asthma or any other respiratory ailment.

 (Id.). Shkreli advised Probation that he took “Claritin for the treatment of allergies,” but did not

 describe those allergies as “severe.” (Id.).

                Currently, Shkreli is 37 years old and in good health, with no history “of any

 physical illnesses or injuries, and no history of any of the issues that are theorized to present an


 1
  Shkreli was initially incarcerated at the Metropolitan Detention Center (“MDC”) in Brooklyn,
 New York. Shkreli was moved to FCI Fort Dix in New Jersey in May 2018, and subsequently
 moved to FCI Allentown Low in Pennsylvania in April 2019.

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 increased risk of contracting or having a severe reaction to COVID-19.” (Probation Resp. at 1).

 There is no record that Shkreli reported that he had asthma, or that he was treated for asthma,

 while in BOP custody. (Id.). Shkreli last self-reported seasonal allergies to the BOP in

 September 2017, at which time his over-the-counter allergy medication was discontinued and he

 was referred to the prison commissary to obtain medication as needed. (Id.). A review of BOP

 medical records does not show Shkreli self-reporting that he has taken any such medication for

 allergies since that time; to the contrary, he has reported no allergies and sought no treatment for

 allergies.

 VI.     Shkreli’s Petition to the Bureau of Prisons and Current Status of COVID-19 at
         FCI Allenwood Low

                On March 30, 2020, counsel for Shkreli filed a petition via counsel with the

 warden of FCI Allenwood Low, where he is currently housed, for the BOP to move this Court

 for his compassionate release pursuant to 28 C.F.R. § 571.61(a); counsel subsequently

 supplemented that petition. (See Shkreli Mot. 3, Exhibits C & D (collectively, the “BOP

 Petition”)).2 The BOP Petition sought Shkreli’s release based on, inter alia, the fact that he has

 “severe allergies” which will likely result in “more frequent contact between hands and face” and

 which “increases opportunities for the virus to infiltrate [Shkreli’s] body and cause illness.” (Id.

 at Exhibit C, p. 5). The BOP Petition did not contend that Shkreli suffered from asthma or any

 other physical condition. (Id.).



 2
   Shkreli has represented that he also filed a separate petition for release on a BOP Form 8. (Id.
 at 5, n.1). Shkreli has further represented that on April 15, 2020, he received a denial of his BOP
 Form 8, in which he was advised that not only did he not have an underlying medical condition
 identified by the CDC that would make him eligible for home confinement, but even if he did
 have such condition, his PATTERN risk score would make him ineligible for home confinement
 under BOP guidelines. The BOP has not yet been able to confirm to the government the contents
 of Shkreli’s Form 8 filing or the April 15, 2020 response to that Form 8 filing.

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                On April 16, 2020, the warden at FCI Allenwood Low denied the BOP Petition in

 a written letter to Shkreli’s counsel. That letter indicated that Shkreli was not eligible for early

 release under BOP Program Statement 5050.50, because he is 37 years old and does not have a

 “incurable, progressive illness” nor has he “suffered a debilitating injury from which [he] will

 not recover.” Shkreli is currently appealing the denial of the BOP Petition within the BOP.

 (Shkreli Mot. 5 n.1).

                As of today, FCI Allenwood Low has zero inmates or staff members who have

 tested positive for COVID-19. See https://www.bop.gov/coronavirus/index.jsp (last viewed

 April 28, 2020, at 11:00 a.m.).3

                                            ARGUMENT

 I.     Shkreli’s Motion Must Be Denied for Failure to Exhaust His Administrative
        Remedies

                Shkreli does not dispute that he has failed to exhaust his administrative remedies.

 The BOP Petition was filed on March 30, 2020, and while that petition was denied by the BOP

 on April 16, 2020, as detailed above, Shkreli has not yet completed the appeals process within

 the BOP. Shkreli nevertheless asserts that the Court “should excuse [his] failure to exhaust his

 administrative remedies.” (Shkreli Mot. 4). As set forth below, the law is squarely to the

 contrary. Consequently, Shkreli’s motion must be denied at this time for failure to exhaust his

 statutory remedies.




 3
  The government also confirmed that no inmates or staff at FCI Allenwood Low have tested
 positive for COVID-19 via email correspondence with a BOP employee at FCI Allenwood Low
 on April 28, 2020.

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        A.         The Statute’s Exhaustion Requirement Is Mandatory and Contains No
                   Exceptions

                   Shkreli’s assertion that he should be “excused” (Shkreli Mot. 4) from the express,

 unambiguous statutory requirement that he “fully exhaust” his administrative remedies has no

 legal basis. Under 18 U.S.C. § 3582(c), a district court “may not” modify a term of

 imprisonment once imposed, except under limited circumstances. One such circumstance is the

 so-called compassionate release provision, under which Shkreli seeks relief, which provides that

 a district court “may reduce the term of imprisonment” where it finds “extraordinary and

 compelling circumstances.” Id. § 3582(c)(1)(A)(i). A motion under this provision may be made

 by either the BOP or a defendant, but in the latter case only “after the defendant has fully

 exhausted all administrative rights to appeal a failure of the [BOP] to bring a motion on the

 defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of the

 defendant's facility, whichever is earlier.” Id. (emphases added). Accordingly, where, as here, a

 defendant’s compassionate release motion is denied by the warden of his institution within 30

 days, the defendant cannot file his motion in district court, and the district court “may not”

 modify his term of imprisonment, until he has “fully exhausted all administrative rights.” In

 short, where a warden timely denies an imnmate’s request, § 3582(c)(1)(A) requires “ful[]

 exhaust[ion].”4

                   The BOP Program Statement outlines the process by which a defendant can “fully

 exhaust” his/her administrative rights in detail. See Program Statement No. 5050.50,


 4
   See, e.g., United States v. Bolino, No. 06-CR-0806 (BMC), 2020 WL 32461, at *1 (E.D.N.Y.
 Jan. 2, 2020) (instructing that “[i]f the prison warden denies that request [from the inmate], the
 prisoner must appeal the denial through the BOP’s Administrative Remedy Procedure”); United
 States v. Quashie, No. 14-CR-0376 (BMC), 2019 WL 7194211 (E.D.N.Y. Dec. 26, 2019); see
 also, e.g., United States v. Leeland Eisenberg, No. 16-CR-157-LM, 2020 WL 1808844 (D.N.H.
 Apr. 9, 2020) (“[B]efore a district court may consider a compassionate release motion filed directly
 by a defendant, the defendant must demonstrate that he has either exhausted his administrative

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 Compassionate Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§

 3582 and 4205(g), https://www.bop.gov/policy/progstat/5050_050_EN.pdf. That statement

 explains that a prisoner seeking a compassionate release must first file a request with the prison

 warden asking the BOP to move for compassionate release on the prisoner’s behalf. See id. at 3

 (citing 28 C.F.R. § 571.61). Upon receipt of an application for compassionate release, BOP

 officials at the relevant facility are to conduct an extensive and thorough assessment of, among

 other things, the inmate’s particular conditions of confinement and the stated grounds for release,

 including, as warranted, the inmate’s health. See id. This assessment, and the knowledge and

 expertise of BOP staff, can be of great value to the parties and the Court. If the prison warden

 denies an initial request, the prisoner must appeal the denial through the BOP’s Administrative

 Remedy Procedure. See id. at 15 (citing 28 C.F.R. § 571.63). An appeal is considered logged on

 the date it is entered as received, and a response must be made timely; if a prisoner does not

 receive a response within the allotted time, the prisoner may consider the absence of a response



 rights to appeal BOP’s refusal to bring a motion for compassionate release on his behalf or that
 BOP has ignored his request for compassionate release for 30 days.”); United States v. Korn, No.
 11-CR-384S, 2020 WL 1808213, at *2 (W.D.N.Y. Apr. 9, 2020) (same); United States v.
 Brummett, No. 6: 07-103-DCR, 2020 WL 1492763, at *1 (E.D. Ky. Mar. 27, 2020) (same); United
 States v. Mattingley, No. 15-CR-00005, 2020 WL 974874, at *5 (W.D. Va. Feb. 28, 2020) (same);
 United States v. Hilton, No. 1:18CR324-1, 2020 WL 836729, at *2 (M.D.N.C. Feb. 20, 2020)
 (same); United States v. Nance, No. 7:92CR00135, 2020 WL 114195, at *2 (W.D. Va. Jan. 10,
 2020) (“In Nance’s case, the Warden did respond to his request within 30 days. Accordingly,
 Nance was obligated to complete the administrative appeal process.”); United States v. Miller, No.
 16-CR-00269, 2020 WL 113349, at *2 (D. Idaho Jan. 8, 2020) (“It seems odd that Congress would
 allow a defendant to short-circuit the Bureau of Prison’s administrative procedures simply by
 waiting 30 days after filing his request, despite the warden timely acting on that request. In this
 context ‘lapse’ clearly means that the warden must fail to act on the defendant’s request for a
 period of 30 days. The 30-day period gives the warden time to respond to the inmate’s request,
 but prevents the warden from sitting on the request for an unnecessarily long period of time.”
 (citation omitted)). But see United States v. Woodson, No. 18-CR-845 (PKC), 2020 WL 1673253,
 at *1 (S.D.N.Y. Apr. 6, 2020); United States v. York, No. 3:11-CR-76, 2019 WL 3241166, at *6
 (E.D. Tenn. July 18, 2019) (“Because 30 days have passed since [the defendant’s requests to BOP],
 the Court has authority to hear this matter under § 3582(c)(1)(A)”).

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 to be a denial. See 28 C.F.R. § 542.18 (detailing response times). Only after that process is

 complete will a defendant be considered to have “fully exhausted” his or her administrative

 remedies. Thus, requests for compassionate release follow the same exhaustion procedure as for

 routine administrative grievances (i.e., the use of forms BP-9 through BP-11). See United States

 v. Bolino, 06-CR-806 (BMC), 2020 WL 32461, at *1 (E.D.N.Y. Jan. 2, 2020).

                Here, the warden at Shkreli’s institution denied the BOP Petition within 30 days

 and Shkreli has not yet exhausted his administrative remedies because his appeal of the warden’s

 denial of the BOP Petition is still pending.5 That ends this matter at this time. This is so because

 Section 3582(c)’s exhaustion requirement is statutory, not the sort of judicially-crafted

 exhaustion requirement that “remain[s] amenable to judge-made exceptions.” Ross v. Blake,

 136 S. Ct. 1850, 1857 (2016). Statutory exhaustion requirements “stand[] on a different

 footing.” Id. “Congress sets the rules—and courts have a role in creating exceptions only if



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   Shkreli suggests that his administrative remedies will be exhausted on April 30, 2020, which is
 the 30th day following the filing of the BOP Petition, and cites to United States v. Haney, No.
 19-CR-541 (JSR), 2020 WL 1821988, at *3 (S.D.N.Y. Apr. 13, 2020), a case that improperly
 described § 3582(c)(1)(A) as imposing a mere “wait period” that gives inmates the choice to
 “either exhaust or wait 30 days.” (Shkreli Mot. 7, 10). This is incorrect. Such a reading of the
 statute would render the exhaustion requirement in § 3582(c)(1)(A) “wholly ineffective,”
 because a prisoner “who does not want to participate” in BOP’s administrative review can
 simply choose not to, and he or she can do so with “no significant sanction” for “bypass[ing]
 available remedies.” Woodford v. Ngo, 548 U.S. 81, 95 (2006). This conclusion finds no
 support in the text of the statute or the binding authority cited above. By contrast, the
 government’s understanding of § 3582(c)(1)(A) is internally coherent, it gives meaning to every
 word in the provision, and it is consistent with the precedent discussed above.
 In § 3582(c)(1)(A) Congress plainly intended to hasten the BOP’s review of such requests and it
 did so by requiring the warden to act on them within 30 days. If the warden does so, the inmate
 must “fully exhaust[] all administrative rights to appeal a failure of the [BOP] to bring a motion
 on [his] behalf.” If, however, the warden fails to act on the inmate’s request within 30 days, the
 inmate is entitled to treat that inaction as a denial by the BOP (not just the warden) and proceed
 directly to district court. The government’s understanding of the statute encourages prompt BOP
 action and administrative review, while at the same time protecting inmates from BOP inaction
 by way of the “30-day” provision, which serves as a statutory futility exception.


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 Congress wants them to.” Id. Thus, where a statute contains mandatory exhaustion language, as

 it does here, the only permissible exceptions are those contained in the statute. Id.; see also

 Bastek v. Fed. Crop. Ins., 145 F.3d 90, 94 (2d Cir. 1998) (“Faced with unambiguous statutory

 language requiring exhaustion of administrative remedies, we are not free to rewrite the statutory

 text.”).

                As described above, Section 3582(c)(1)(A) has mandatory exhaustion language

 that excuses exhaustion only where the warden of the inmate’s institution fails to respond to an

 inmate’s initial request within 30 days. In cases like Shkreli’s where that exception does not

 apply, the language of the statute states that a court “may not” modify a sentence unless the

 defendant has first “fully exhausted all administrative rights.” Cf. Fry v. Napoleon Community

 Schools, 137 S. Ct. 743, 750 (2017) (statute requiring that certain types of claims “shall be

 exhausted” is a mandatory exhaustion provision for those types of claims). For this reason, this

 Court lacks the authority to grant the defendant’s motion at this time.

                In recent days and weeks, as the Court is aware, numerous defendants have cited

 the unusual circumstances presented by COVID-19 as a basis for compassionate release, and

 have argued that the exhaustion requirement should be waived or excused. The only Court of

 Appeals to have addressed the question has rejected the argument and required exhaustion. See

 Raia, 2020 WL 1647922. In Raia (a case Shkreli omits from his motion), the Third Circuit

 recognized the serious concerns presented by COVID-19, but held that, in light of these

 concerns, as well as the BOP’s statutory role and its “extensive and professional efforts to curtail

 the virus’s spread, . . . strict compliance with Section 3582(c)(1)(A)’s exhaustion requirement

 takes on added—and critical—importance.” Id. at *2. The vast majority of district courts that

 have reached the issue have also required exhaustion. See, e.g., United States v. Roberts, 18-CR-



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 528 (JMF), 2020 WL 1700032, at *2 (S.D.N.Y. Apr. 8. 2020); United States v. Canale, 17-CR-

 287 (JPO), 2020 WL 1809287, at *1 (S.D.N.Y. Apr. 9, 2020); United States v. Woodson, 18-

 CR- 845 (PKC), 2020 WL 1673253, at *4 (S.D.N.Y. Apr. 6, 2020); United States v. Weiland,

 18-CR-273 (LGS), 2020 WL 1674137, at *1 (S.D.N.Y. Apr. 6, 2020); United States v. Johnson,

 14-CR-4-0441, 2020 WL 1663360, at *1 (D. Md. Apr. 3, 2020); United States v. Carver, 19-CR-

 6044, 2020 WL 1604968, at *1 (E.D. Wa. Apr. 1, 2020); United States v. Clark, 17-CR-85

 (SDD), 2020 WL 1557397, at *3 (M.D. La. Apr. 1, 2020); United States v. Williams, 15-CR-

 646, 2020 WL 1506222, at *1 (D. Md. Mar. 30, 2020); United States v. Garza, 18-CR-1745,

 2020 WL 1485782, at *1 (S.D. Cal. Mar. 27, 2020); United States v. Zywotko, 19-CR-113, 2020

 WL 1492900, at *1 (M.D. Fla. Mar. 27, 2020); United States v. Eberhart, 13-CR-313, 2020 WL

 1450745, at *2 (N.D. Cal. Mar. 25, 2020); United States v. Gileno, 19-CR-161, 2020 WL

 1307108, at *3 (D. Conn. Mar. 19, 2020); see also Bolino, 2020 WL 32461, at *1.6

               To be sure, COVID-19 presents unusual circumstances, in which compassionate

 release decisions should be made expeditiously. But the text of Section 3582 contains no




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   But see United States v. Scparta, 18 Cr. 578 (AJN), 2020 WL 1910481, at *8 (S.D.N.Y. Apr.
 20, 2020); United States v. Perez, No. 17 Cr. 513 (AT), 2020 WL 1546422, at *3 (S.D.N.Y. Apr.
 1, 2020); United States v. Colvin, No. 19 Cr. 179, 2020 WL 1613943, at *2 (D. Conn. Apr. 2,
 2020). However, Scparta, Perez and Colvin (cited at Shkreli Mot. 9-10) all rely on Washington
 v. Barr, 925 F.3d 109 (2d Cir. 2019) (notably, Scparta relies heavily on Perez), which, as
 discussed below, is inapposite because it involves judge-made exhaustion doctrine. Perez and
 Colvin are also are inapposite because each was a case where delay amounted to denial because
 the defendant had a very short period (less than three weeks in Perez, and eleven days in Colvin)
 remaining on his or her sentence. See Perez, 2020 WL 1546422, at *3; Colvin, 2020 WL
 1613943, at *2. Similarly, in Scparta, the BOP had already agreed to release the defendant to
 home confinement and the defendant was merely contesting the BOP facility’s decision to detain
 him for an additional 14-day quarantine period prior to his release. Scparta, 2020 WL 1910481,
 at *8. Shkreli omits all of these distinguishing facts from his motion, and the circumstances of
 his case are far different.

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 exigency or similar exception, and indeed, the text refutes the availability of such an exception in

 two respects.

                 First, while many statutory exhaustion provisions require exhaustion of all

 administrative remedies before a claim may be brought in court, Section 3582 provides an

 alternative: exhaustion of all administrative rights or failure of the warden to act on the inmate’s

 request within 30 days. 18 U.S.C. § 3582(c)(1)(A). This alternative acts as a statutory futility

 provision for cases—unlike Shkreli’s—where the warden of an inmate’s institution fails to

 respond within the 30 day period provided by Congress.

                 Second, in cases presenting the most urgent circumstance—inmates diagnosed

 with a terminal illness—Section 3582(d) requires the warden of an inmate’s institution to process

 any application for compassionate release in 14 days. That Congress allowed 14 days to process

 the claims of even a terminally ill inmate suggests that it could not have intended to allow a

 shorter period (which excusing exhaustion would effectively provide) in a case, such as this,

 where the potential risk to the inmate, while serious, remains potential.

                 As the Third Circuit recognized, the mandatory exhaustion requirement

 accommodates the valuable role that the BOP plays in the compassionate release process.

 Informed decisions about compassionate release require the collection of information, like

 disciplinary records, medical history, and facility details, which the BOP is uniquely suited to

 obtain and that will benefit both the BOP and later a court evaluating such claims. The BOP is

 also well situated to make relative judgments about the merits of compassionate release

 requests—particularly at a time like this when many inmates, in different circumstances, are

 making requests advancing similar claims—and adjudicate those positions in a consistent

 manner. The Court may of course review those judgments, but Congress expressed its clear



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 intent that such review would come second, with the benefit of the BOP’s initial assessment. See

 United States v. Russo, 16-CR-441 (LJL) (S.D.N.Y. Apr. 3, 2020) (Dkt. 54, at 4) (The statutory

 text “recognizes that the BOP is frequently in the best position to assess, at least in the first

 instance, a defendant’s conditions, the risk presented to the public by his release, and the

 adequacy of a release plan. That recognition is consistent with one of the bedrock principles

 underlying administrative exhaustion—to permit the agency, with its expertise and with its

 responsibility over the movant, to make a decision in the first instance.”).

                In any event, to ignore the mandatory, express, statutory exhaustion requirement,

 whatever its merits, would be legal error. See Husted v. A. Philip Randolph Inst., 138 S. Ct.

 1833, 1848 (2018) (“[T]his case presents a question of statutory interpretation, not a question of

 policy.”); United States v. Ron Pair Enters., 489 U.S. 235, 241 (1989) (Where a “statute’s

 language is plain, the sole function of the courts is to enforce it according to its terms.” (internal

 quotation marks omitted)).

        B.      Shkreli’s “Exceptions” Argument Fails

                In the face of unambiguous statutory language, and numerous cases applying it in

 this district and elsewhere, Shkreli claims, relying principally on Washington v. Barr, 925 F.3d

 109, 118 (2d Cir. 2019), that this Court both may and should find that the exhaustion

 requirement is “excused” because he fits within certain unwritten, but allegedly applicable,

 “exceptions.” (Shkreli Mot. 5-7). That claim is wrong. The statute’s plain language does not

 permit exceptions, and Washington is inapposite for precisely that reason.

                Washington involved a judge-made, not statutory, exhaustion. See Washington,

 925 F.3d at 116 (stating that the statute in question “does not mandate exhaustion of

 administrative remedies” but finding that exhaustion requirement was nevertheless appropriate);



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 id. at 118 (“Although not mandated by Congress, [exhaustion] is consistent with congressional

 intent.”). Thus, it was appropriate for the court to consider judge-made exceptions to the judge-

 made exhaustion requirement, or to put it differently, the scope of the judge-made requirement.

 See Ross, 136 S. Ct. at 1857. But this case involves a mandatory, express, statutory exhaustion

 requirement. That is entirely different. See Bastek, 145 F.3d at 95 (rejecting application of

 various exceptions to exhaustion requirement where clear statutory requirement exists);

 Theodoropoulos v. INS, 358 F.3d 162, 172 (2d Cir. 2004) (rejecting futility exception to

 exhaustion requirement in Immigration and Nationality Act because such an exception is “simply

 not available when the exhaustion requirement is statutory,” as opposed to judicial).

                The text of the opinion in Washington does include the following statement:

 “Even where exhaustion is seemingly mandated by statute or decisional law, the requirement is

 not absolute. The Supreme Court itself has recognized exceptions to the exhaustion requirement

 under ‘three broad sets of categories.’” Washington, 925 F.3d at 118 (quoting McCarthy v.

 Madigan, 503 U.S. 140, 146 (1992)). However, the inclusion of the foregoing phrase “by

 statute” is not supported by the citation that follows. McCarthy is another case involving a

 judge-made exhaustion requirement. See McCarthy, 503 U.S. at 152 (“Congress has not

 required exhaustion of a federal prisoner’s Bivens claim.” (emphasis in original)). It thus

 provides no support for the notion that exhaustion mandated “by statute” is not absolute.

 See Bastek, 145 F.3d at 95 (rejecting application of McCarthy exceptions in a statutory case).

 Moreover, while Washington goes on to discuss three recognized exceptions to exhaustion, it is

 again describing three exceptions recognized in McCarthy in the judge-made context, and as the

 Supreme Court made clear in Ross, there is a critical distinction between statutory and judge-

 made exhaustion requirements. Given that Washington was a judge-made exhaustion case, its



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 unexplained statement that exhaustion mandated “by statute” is “not absolute” is dicta, and

 cannot supplant the clear statements to the contrary in cases like Ross and Bastek, and the plain

 language of the statute here. See Woodson, 2020 WL 1673253, at *3 (“The passing reference to

 ‘exhaustion [that] is seemingly mandated by statute . . . is not absolute’ in [Washington] was not

 necessary to the Court of Appeals’ holding.” (ellipsis in original)); Roberts, 2020 WL 1700032,

 at *2 (rejecting argument that Washington permits excusing exhaustion under Section 3582(c);

 unlike those that are judge-made, “statutory exhaustion requirements, such as those set forth in

 Section 3582(c), must be strictly enforced” (internal quotation marks omitted)).7




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   Mathews v. Eldridge, 424 U.S. 319 (1976) and Bowen v. City of New York, 476 U.S. 467
 (1986) (cited at Shkreli Mot. at 5-7) are similarly inapposite. In each case, the Supreme Court
 considered a provision of the Social Security Act providing that a claimant could bring a civil
 action challenging a decision by the Secretary of Health, Education and Welfare only after “a
 final decision of the Secretary made after a hearing.” 42 U.S.C. § 405(g). The Supreme Court
 construed this to contain two requirements: (1) a non-waivable, “jurisdictional” element that a
 claim shall have been brought before the Secretary, and (2) a waivable element that the remedies
 prescribed by the Secretary be exhausted. Eldridge, 424 U.S. at 328. In Eldridge, the Supreme
 Court concluded that the denial of the claimant’s request for benefits “constitutes a final
 decision” for purposes of the exhaustion requirement. Id. at 332. Thus, Eldridge did not excuse
 an exhaustion requirement; it found it to have been satisfied. See Shalala v. Illinois Council on
 Long Term Care, Inc., 529 U.S. 1, 15 (2000). In Bowen, the Supreme Court used language
 suggesting not that the requirement of a “final decision” (and thus the exhaustion requirement)
 had been satisfied, but rather that it could be “excused” under the circumstances set forth in
 Eldridge, as well as when a court deems appropriate “as guided by the policies underlying the
 exhaustion requirement.” Id. at 485. These statements in Bowen, which go beyond Eldridge and
 are arguably dicta, are in stark tension with Ross and other more recent Supreme Court
 precedents. Indeed, they set forth precisely the sort of “freewheeling approach to exhaustion”
 that the Supreme Court has since repudiated. Ross, 136 S. Ct. at 1350.
 Thus, particularly in light of subsequent precedent, Eldridge and Bowen stand at most for the
 proposition that the specific statutory exhaustion requirement at issue in those cases can be
 excused by a court where the two-part Eldridge test is satisfied. But by no means do they stand
 for the proposition that all statutory exhaustion requirements may be excused, let alone one as
 unambiguous as Section 3582(c). Indeed, when the Supreme Court recently reiterated the two-
 part Eldridge test, it emphasized that exhaustion schemes should be interpreted “with a regard for
 the particular administrative scheme at issue” and that the Social Security Administration is
 “unusually protective of claimants.” Smith v. Berryhill, 139 S. Ct. 1765, 1774, 1776 (2019).

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                In sum, the analysis of a statutory exhaustion requirement, like any other statutory

 requirement, must “begin[] with the text” and utilize “ordinary interpretive techniques.”

 Ross, 136 S. Ct. at 1856 and 1858 n.2; see also, e.g., Ron Pair Enters., 489 U.S. at 241. The text

 of Section 3582(c) is unambiguous and provides for no exceptions. “[T]he Court is not free to

 infer” one that is irreconcilable with that text. Roberts, 2020 WL 1700032, at *2; see also, e.g.,

 Woodson, 2020 WL 1673253, at *3.

 II.    Shkreli Has Not Met His Burden to Demonstrate Extraordinary and Compelling
        Reasons For His Immediate Release

                Even if Shkreli had exhausted his administrative remedies, the Court should reject

 his motion on the merits, as he has not met his burden to demonstrate “extraordinary and

 compelling” reasons for his immediate release. Shkreli was convicted after trial of serious fraud

 offenses, was remanded to prison after violating his bail conditions and correctly received a

 multiple-year term of imprisonment. He appealed his conviction, and it was affirmed. He is a

 healthy 37-year-old man with no documented medical conditions that put him at increased risk of

 contracting or developing complications from COVID-19, and is currently housed in a facility

 with no COVID-19 cases. While the risk posed by COVID-19 is real, the BOP has taken and

 continues to take meaningful steps to mitigate that risk—and appears to have done so particularly

 effectively with respect to the long-term, low-security facility where Shkreli is housed. Taken

 together, Shkreli’s good health, his history of disciplinary violations in prison and the remaining

 3553(a) factors strongly counsel against his release.




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        A.       Applicable Law

                Under Section 3582, the Court “may reduce the term of imprisonment . . . after

 considering the factors set forth in section 3553(a) to the extent that they are applicable, if it finds

 that . . . extraordinary and compelling reasons warrant such a reduction . . . and that such a

 reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

 18 U.S.C. § 3582(c)(1)(A).

                The relevant Sentencing Commission policy statement is U.S.S.G. § 1B1.13. That

 statement provides that the Court may reduce the term of imprisonment if “extraordinary and

 compelling reasons warrant the reduction,” id. § 1B1.13(1)(A); “the defendant is not a danger to

 the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g),” id.

 § 1B1.13(2); and “the reduction is consistent with this policy statement,” id. § 1B1.13(3).

                The Application Note describes the circumstances under which “extraordinary and

 compelling reasons exist”:

        (A) Medical Condition of the Defendant. —

             (i) The defendant is suffering from a terminal illness (i.e., a serious and
             advanced illness with an end of life trajectory). A specific prognosis of life
             expectancy (i.e., a probability of death within a specific time period) is not
             required. Examples include metastatic solid-tumor cancer, amyotrophic lateral
             sclerosis (ALS), end-stage organ disease, and advanced dementia.

             (ii) The defendant is—

                (I) suffering from a serious physical or medical condition,
                (II) suffering from a serious functional or cognitive impairment, or
                (III) experiencing deteriorating physical or mental health because of the
                aging process,

             that substantially diminishes the ability of the defendant to provide self-care
             within the environment of a correctional facility and from which he or she is
             not expected to recover.




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        (B) Age of the Defendant. — The defendant (i) is at least 65 years old; (ii) is
        experiencing a serious deterioration in physical or mental health because of the
        aging process; and (iii) has served at least 10 years or 75 percent of his or her term
        of imprisonment, whichever is less.

        (C) Family circumstances. —

            (i)       The death or incapacitation of the caregiver of the defendant’s minor
                      child or minor children.
            (ii)      The incapacitation of the defendant’s spouse or registered partner
                      when the defendant would be the only available caregiver for the
                      spouse or registered partner.

        (D) Other Reasons. — As determined by the Director of the Bureau of Prisons,
        there exists in the defendant’s case an extraordinary and compelling reason
        other than, or in combination with, the reasons described in subdivisions (A)
        through (C).

 Id. § 1B1.13 Application Note 1.

                   Regardless of the theory of “extraordinary and compelling reasons” under which a

 defendant proceeds, as noted above, the 18 U.S.C. § 3553(a) factors are relevant to whether release

 is warranted. See 18 U.S.C. § 3582; U.S.S.G. § 1B1.13.

                   The Guidelines and BOP policy have established clear criteria to aid in a court’s

 determination of when compassionate release is appropriate pursuant to 18 U.S.C. §

 3582(c)(1)(A)(i). See U.S.S.G. § 1B1.13; see also BOP Program Statement 5050.50. Both the

 Guidelines and the BOP Program Statement primarily limit compassionate relief to cases of

 serious illness or impairment, advanced age or a need to care for a child, spouse or registered

 partner. See id.; see also United States v. Traynor, 04-CR-0582 (NGG), 2009 WL 368927, at *1

 n.2 (E.D.N.Y. Feb. 13, 2009). As the court recognized in Traynor, Congress noted that Section

 3582(c)(1) “applies . . . to the unusual case in which the defendant’s circumstances are so

 changed, such as by terminal illness, that it would be inequitable to continue the confinement of




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 the prisoner.” Id. at *1 (citing Senate Report No. 98–225, 98th Cong., 2d Sess., reprinted in

 1984 U.S.C.C.A.N. 3182, 3304).

                As the proponent of release, the defendant bears the burden of proving that

 “extraordinary and compelling reasons” exist. See United States v. Butler, 970 F.2d 1017, 1026

 (2d Cir. 1992) (“If the defendant seeks decreased punishment, he or she has the burden of

 showing that the circumstances warrant that decrease.”); United States v. Gotti, 02-CR-743

 (CM), 2020 WL 497987, at *5 (S.D.N.Y. Jan. 15, 2020) (defendant “has the burden of showing

 that ‘extraordinary and compelling reasons’ to reduce his sentence exist”).

                B.      The BOP’s Response to the COVID-19 Pandemic

                The BOP has made and continues to make significant efforts to respond to the

 threat posed by COVID-19.

                Since at least October 2012, the BOP has had a Pandemic Influenza Plan. See

 BOP Health Management Resources, https://www.bop.gov/resources/health_care_mngmt.jsp. In

 January 2020, the BOP began to plan specifically for COVID-19 to ensure the health and safety

 of inmates and BOP personnel. See BOP COVID-19 Action Plan,

 https://www.bop.gov/resources/news/20200313_covid-19.jsp. As part of its Phase One

 response, the BOP began to study “where the infection was occurring and best practices to

 mitigate transmission.” Id. In addition, the BOP stood up “an agency task force” to study and

 coordinate its response, including using “subject-matter experts both internal and external to the

 agency including guidance and directives from the [World Health Organization (WHO)], the

 [Centers for Disease Control and Prevention (CDC)], the Office of Personnel Management

 (OPM), the Department of Justice (DOJ) and the Office of the Vice President. BOP’s planning

 is structured using the Incident Command System (ICS) framework.” Id.



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                On or about March 13, 2020, the BOP implemented its Phase Two response “to

 mitigate the spread of COVID-19, acknowledging the United States will have more confirmed

 cases in the coming weeks and also noting that the population density of prisons creates a risk of

 infection and transmission for inmates and staff.” Id. These national measures are intended to

 “ensure the continued effective operations of the federal prison system and to ensure that staff

 remain healthy and available for duty.” Id. For example, the BOP (a) suspended social visits for

 30 days (but increased inmates access to telephone calls); (b) suspended legal visits for 30 days

 (with case-by-case accommodations); (c) suspended inmate movement for 30 days (with case-

 by-case exceptions, including for medical treatment); (d) suspended official staff travel for 30

 days; (e) suspended staff training for 30 days; (f) restricted contractor access to BOP facilities to

 only those performing essential services, such as medical treatment; (g) suspended volunteer

 visits for 30 days; (h) suspended tours for 30 days; and (i) generally “implement[ed] nationwide

 modified operations to maximize social distancing and limit group gatherings in [its] facilities.”

 Id. In addition, the BOP implemented screening protocols for both BOP staff and inmates, with

 staff being subject to “enhanced screening” and inmates being subject to screening managed by

 its infectious disease management programs. Id. As part of the BOP’s inmate screening process,

 (i) “[a]ll newly-arriving BOP inmates are being screened for COVID-19 exposure risk factors

 and symptoms”; (ii) “[a]symptomatic inmates with exposure risk factors are quarantined; and

 (iii) “[s]ymptomatic inmates with exposure risk factors are isolated and tested for COVID-19 per

 local health authority protocols.” Id.

                On or about March 18, 2020, the BOP implemented Phase Three, which entailed:

 (a) implementing an action plan to maximize telework for employees and staff; (b) inventorying

 all cleaning, sanitation, and medical supplies; (c) making sure that ample supplies were on hand



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 and ready to be distributed or moved to any facility as deemed necessary; and (d) placing additional

 orders for those supplies, in case of a protracted event. See BOP Update on COVID-19, at

 https://www.bop.gov/resources/news/pdfs/20200324_bop_press_release_covid19_update.pdf.

                 On or about March 26, 2020, the BOP implemented Phase Four, which entailed:

 (a) updating its quarantine and isolation procedures to require all newly admitted inmates to BOP,

 whether in a sustained community transition area or not, be assessed using a screening tool and

 temperature check (including all new intakes, detainees, commitments, writ returns from judicial

 proceedings, and parole violators, regardless of their method of arrival); (b) placing asymptomatic

 inmates in quarantine for a minimum of 14 days or until cleared by medical staff; and (c) placing

 symptomatic inmates in isolation until they test negative for COVID-19 or are cleared by medical

 staff as meeting CDC criteria for release from isolation. See BOP COVID-19 Action Plan: Phase

 Five, https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp.

                On or about April 1, 2020, the BOP implemented Phase Five, which entails: (a)

 securing inmates in every institution to their assigned cells/quarters for a 14-day period to

 decrease the spread of the virus; (b) to the extent practicable, offering inmates access to

 programs and services that are offered under normal operating procedures, such as mental health

 treatment and education; (c) coordinating with the United States Marshals Service to

 significantly decrease incoming movement; (d) preparing to reevaluate after 14 days and make a

 decision as to whether or not to return to modified operations; and (e) affording limited group

 gathering to the extent practical to facilitate commissary, laundry, showers, telephone, and Trust

 Fund Limited Inmate Computer System (TRULINCS) access. Id. All new inmates are screened,

 and those with any risk factors, even if asymptomatic, are quarantined. See BOP Implementing

 Modified Operations, https://www.bop.gov/coronavirus/covid19_status.jsp; BOP COVID-19



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 Action Plan: Phase Five,

 https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp.

                 The BOP has also “increased Home Confinement by over 40% since March and

 is continuing to aggressively screen all potential inmates for Home Confinement.” Update on

 COVID-19 and Home Confinement,

 https://www.bop.gov/resources/news/20200405_covid19_home_confinement.jsp. In addition,

 the BOP “has begun immediately reviewing all inmates who have COVID-19 risk factors, as

 described by the CDC, starting with the inmates incarcerated at FCI Oakdale, FCI Danbury, FCI

 Elkton and similarly-situated facilities [with COVID-19 outbreaks] to determine which inmates

 are suitable for home confinement.” Id.

                As of today, FCI Allenwood Low, where Shkreli is housed, has zero inmates or

 staff members who have tested positive for COVID-19. See

 https://www.bop.gov/coronavirus/index.jsp (last viewed April 28, 2020, at 11:00 a.m.). Nor is

 FCI Allenwood Low permitting visitation. See https://www.bop.gov/locations/institutions/alf/;

 see also BOP COVID-19 Action Plan: Phase Five,

 https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp.

        C.       Discussion

                Shkreli argues that he has met his burden to show “extraordinary and compelling

 circumstances” that warrant his release both because he allegedly has “severe allergies” and

 “asthma” that put him at an increased risk of contracting COVID-19 (Shkreli Mot. 13-14), and

 because the BOP’s response to the COVID-19 pandemic has been inadequate as a general matter

 (id. at 13-16). Shkreli further argues that, having met this burden, his release is appropriate

 under Section 3553(a) because he is not a danger to the community and would “potentially help



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 others” due to his purported on a “potential cure” for COVID-19 (id. at 17-19). He suggests to

 the Court that he should serve the remainder of his sentence on home confinement with

 electronic monitoring at the home of his fiancé in New York City (the current epicenter of the

 pandemic).8 None of these arguments are availing, and all should be rejected.

                1.      Shkreli Has No Documented Medical Conditions that Warrant Release

                In his motion, Shkreli asserts that he has “asthma” and “severe allergies,” which

 allegedly cause him to face “possible, even likely infection, and potential death.” (Shkreli Mot.

 1, 13). But despite such a claim, Shkreli has provided no documentation of any kind of his

 purported medical conditions, much less documentation that they are so serious that they warrant

 the extraordinary relief he seeks of immediate and permanent release from prison.

                With respect to his allegation that he suffers from asthma, Shkreli did not report

 this alleged condition to the Probation Office prior to sentencing; did not tell the Court of such

 an alleged condition in connection with sentencing; did not report that he allegedly had asthma to

 the BOP at any time; is not being treated for asthma at the BOP; did not claim that he suffered

 from asthma in the BOP Petition; and the government is unaware of any medical records of any


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   Exhibit G, which is a letter from Shkreli’s fiancé to the Court and discusses certain 3553(a)
 factors, was filed under seal. While the government agrees that personal identifying information
 (“PII”) (such as addresses and phone numbers) may be redacted from public filings, there does
 not appear to be a legal basis to seal the entire letter, nor has Shkreli articulated such a basis.
 Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 126 (2d Cir. 2006) (a “judicial document,”
 that is, one “relevant to the performance of the judicial function and useful in the judicial
 process,” must be filed publicly unless the court makes “specific, on-the-record findings that
 higher values necessitate a narrowly tailored sealing”); United States v. Johnson, No. 16 Cr. 457
 (NGG), 2018 WL 1611371,at *1 (E.D.N.Y. Apr. 3, 2018) (“Both sentencing memoranda and
 letters of support from third parties are judicial documents to which a strong presumption of
 public access attaches.” (internal quotation marks omitted; alteration incorporated)); United
 States v. Gotti, No. 17 Cr. 127 (ARR), 2017 WL 4027990, at *1 (E.D.N.Y. Oct. 30, 2017)
 (“documents submitted to the court for the purposes of sentencing are presumptively public”);
 United States v. King, No. 10 Cr. 122 (JGK), 2012 WL 2196674, at *2 (S.D.N.Y. June 15, 2012)
 (a “formulaic recitation” by a filer that a document allegedly implicates privacy is not sufficient
 to warrant wholesale filing under seal (internal quotation marks omitted)).

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 kind to support his claim (and there are none in his BOP medical file). In short, his claim is both

 “suspiciously coincidental” and “wholly unsubstantiated.” (See Probation Resp. at 1). With

 respect to Shkreli’s allegations that he also suffers from “severe allergies,” while he did advise

 Probation prior to sentencing that he took Claritin (a common and over-the-counter medication)

 and self-reported certain seasonal allergies to the BOP in 2017, Shkreli has not sought treatment

 from the BOP for allergies since that time; has not reported to the BOP during check-ups that he

 takes or needs any medication for such allergies; and there is no medical documentation to

 support his assertion that any such allergies are “severe.” (Id.). And in any event, the

 Government is unaware of a basis for his suggestion that seasonable allergies, even if he had

 them, are a COVID-19 risk factor.

                In short, the record of this case generally, and BOP records in particular, reflect

 that Shkreli, who is only 37 years old, is in excellent physical health and does not have a “history

 of any of the issues that are theorized to present an increased risk of contracting or having a

 severe reaction to COVID-19.” (Id.). The Court should be deeply skeptical of Shkreli’s belated,

 conclusory, and unsupported claim to the contrary. See, e.g., United States v. Pinto-Thomaz, 18-

 CR-579 (JSR), 2020 WL 1845875, at *3 (S.D.N.Y. Apr. 13, 2020) (denying motion for release

 of 35-year-old defendant who submitted a doctor’s letter that he had asthma as a child, after

 observing that the defendant had not advised Probation or the BOP of this alleged condition, but

 had amended his prior medical records to reflect that condition only a week prior to his release

 motion, noting “How convenient.”).

                Even if Shkreli could provide documentation to support that he has asthma and/or

 allergies at this time, such common conditions, standing alone, are not sufficient for Shkreli to

 discharge his burden to demonstrate that he—personally and individually—falls into the narrow



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 band of inmates who are “suffering from a serious physical or medical condition,” “that

 substantially diminishes the ability of the defendant to provide self-care within the environment

 of a correctional facility and from which he or she is not expected to recover.” U.S.S.G.

 § 1B1.13, Application Note 1(A). See, e.g., Gileno, 2020 WL 1307108, at *4 (defendant, who

 allegedly suffered from high blood pressure, high cholesterol, asthma, and allergies, “has not

 shown that his medical issues, which remain largely the same as when he was sentenced,

 ‘substantially diminish [his] ability . . . to provide self-care’ within the correctional facility”

 (brackets in original)).

                 Nor do Shkreli’s generalized complaints about the BOP’s response to the

 COVID-19 pandemic, and his concern that he could contract COVID-19 at some point while

 incarcerated, furnish a basis to meet his burden. The measures taken by the BOP, as detailed

 above, belie Shkreli’s suggestion that the BOP is failing to address meaningfully the risk posed

 by COVID-19 to inmates. (See Shkreli Mot. 11 (stating the BOP’s measures “have been

 inadequate to protect many prisoners from contracting COVID-19”); Exhibit H). To the

 contrary, they show that the BOP has taken the threat seriously, has mitigated it, and continues to

 update policies and procedures in accord with the facts and recommendations. This is

 particularly true at FCI Allenwood Low, where Shkreli is incarcerated, where there are currently

 no cases of COVID-19 at the facility among either staff or inmates. The risk of potential

 exposure to COVID-19 in a BOP facility cannot alone form the basis to release a sentenced

 prisoner, particularly in a case such as this one where he is both young and not in a high-risk

 category. See Raia, 2020 WL 1647922, at *2 (“We do not mean to minimize the risks that

 COVID-19 poses in the federal prison system, particularly for inmates like Raia. But the mere

 existence of COVID-19 in society and the possibility that it may spread to a particular prison



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 alone cannot independently justify compassionate release, especially considering BOP’s

 statutory role, and its extensive and professional efforts to curtail the virus’s spread.”). Courts

 considering bail applications, where, unlike here, the defendant is presumed innocent, have

 rejected this kind of sweeping, non-case specific argument. See, e.g., United States v. Chambers,

 20-CR-135 (JMF), 2020 WL 1530746 (S.D.N.Y. Mar. 31, 2020) (asthma); United States v.

 Michael Valdez, 19-CR-883 (JPO) (S.D.N.Y. Mar. 27, 2020) (asthma); United States v. Rivera,

 20-CR-6 (JSR) (S.D.N.Y. Mar. 25, 2020) (asthma). So too here.

                2.      All Section 3553(a) Factors Weigh Against Shkreli’s Release

                Because Shkreli has not met his burden to show that there are “extraordinary and

 compelling reasons” that might permit his release at this time, the Court need not proceed to the

 analysis under Section 3553(a) as to whether release is indeed warranted. See 18 U.S.C. § 3582;

 U.S.S.G. § 1B1.13. However, if a Section 3553(a) analysis was conducted, it would weigh

 strongly against Shkreli’s release.

                First, Shkreli has served less than half of the 84-month sentence imposed by the

 Court, which imposed that sentence after carefully weighing the nature of Shkreli’s crimes, his

 other actions, and his history and character. The Court explained:

        Mr. Shkreli has clearly and repeatedly minimized his actions and the significance
        of the jury's verdict. In his letter to me, he admits not to his multitude of lies, but
        only that he dodged answering questions, he exaggerated if he felt that he had any
        basis to make the claim, and he provided answers that were only correct if put in a
        certain assumed context. He acknowledges that, quote, “These choices are now
        seen as attempts to deceive and manipulate,” end of quote.

        To be clear, Mr. Shkreli’s statements were not just seen as attempts to deceive and
        manipulate. They were actual and intentional deceptions and manipulations of his
        individual investors and public investors. Mr. Shkreli told investors that his hedge
        funds had tens of millions of dollars in assets under management and were
        extraordinarily successful. These were lies. None of what Mr. Shkreli
        characterizes as assumed context, basis for exaggeration, or alternative
        interpretations of facts would make them true.


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        Mr. Shkreli has also stated his expectation that, quote, he will be released with
        time served or in the worst case scenario get three to six more months of
        imprisonment. In e-mails cited by the Government, Mr. Shkreli, in January 2018,
        wrote “fuck the Feds” and claimed that the Government would not be able to take
        all of his money. … In another e-mail, Mr. Shkreli wrote that, quote, he had a lot
        of remorse but then stated that, quote, he will do everything and anything to get
        the lowest sentence possible except to give up his constitutional rights. And I
        recognize that certainly Mr. Shkreli has every right to persist in his claim that he
        is innocent of the charges and to appeal his conviction, but these e-mails call into
        question the sincerity of his remorse in his letter to the Court …

        Based on Mr. Shkreli's actions and statements, the Court cannot be confident that
        a minimal sentence of 12 to 18 months requested by the defense will deter Mr.
        Shkreli from future crimes or protect the public. The sentence I impose must
        therefore reflect the need to promote respect for the law and to deter Mr. Shkreli,
        specifically, from illegal conduct.

 (Sentencing Tr. at 113-15). The same rationale that guided the Court’s initial sentence is fully

 applicable here. Shkreli’s statement that his offense did not involve violence (Shkreli Mot. 16) is

 both true and irrelevant. The Court’s sentence was imposed with a full understanding of the

 serious nature of Shkreli’s crimes, as well as the actions he took that led the Court to impose

 sanctions on him, including remand for violation of his bail conditions for threatening others, and

 reflected a deep and well-founded concern that a shorter sentence would not properly reflect

 what he did or how he did it, or deter Shkreli from further illegal conduct. Indeed, Shkreli’s

 multiple disciplinary infractions while incarcerated—which included, as detailed above, failure

 to follow a direct order and two separate instances of deliberately circumventing BOP policy and

 deceiving BOP staff by sending money and mail through other inmates (Probation Resp. at 2)—

 demonstrate that Shkreli continues to believe that the rules do not apply to him. Reducing

 Shkreli’s sentence to less than half of what he was sentenced to serve would not in any event be

 warranted, but is particularly inappropriate light of this misconduct. Cf., e.g., United States v.

 Credidio, No. 19 Cr. 111 (PAE), 2020 WL 1644010, at *1 (S.D.N.Y. Apr. 2, 2020) (explaining



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 the court denied a request to change a sentence of 33 months’ imprisonment to home

 confinement for 72-year old defendant at MCC deemed by BOP to be at high risk of COVID-19

 complications, because “a lengthy term of imprisonment is required for [the defendant] for all

 the reasons reviewed at sentencing”); United States v. Lisi, No. 15 Cr. 457 (KPF), 2020 WL

 881994, at *5 (S.D.N.Y. Feb. 24, 2020) (denying motion of defendant suffering from, among

 other things, asthma and high blood pressure; “The sentencing factors weigh heavily against the

 reduction of [the defendant’s] sentence to time served.”), reconsideration denied, 2020 WL

 1331955 (S.D.N.Y. Mar. 23, 2020). Indeed, this misconduct strongly suggests that Shkreli

 cannot be trusted to follow any conditions of supervised release, including any that might be

 imposed to mitigate the risk of him not taking advantage of the COVID-19 pandemic to commit

 additional fraud.

                Second, to the extent the Court chooses to reach Shkreli’s argument that

 he will allegedly use his time after he is released to “develop[] a potential cure for

 COVID-19” that will “potentially help those who are suffering” (Shkreli Mot. 17-18), the

 Court should reject it. As an initial matter, he offers no authority for the Court to

 conclude that such an alleged plan is a basis for release, or how it distinguishes him from

 any other defendant who claims that society would be better off if he were released

 because he will purportedly devote himself to its betterment. In any event, Shkreli’s

 contention that he must be released to work on a “potential cure” is belied by his own

 submission. Despite his current incarceration, Shkreli claims he has already “devoted

 countless hours to developing a potential cure,” provided the content of that work on a

 public web page and to a private pharmaceutical company, and communicated with that

 company about developing a treatment based on that work. (Shkreli Mot. 18-19). But



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 Shkreli has no formal scientific training and no experience working a laboratory setting,

 and he does not explain why he cannot continue to develop and discuss any ideas he may

 have about COVID-19 from prison, as he has.

                Moreover, as Probation observes, Shkreli’s “belief that he can develop a

 cure for COVID-19, something that has so far eluded the best medical and scientific

 minds in the world working around the clock, is not only a practice in wild and

 completely unfounded speculation, but is indicative of the same kind of delusional self-

 aggrandizing behavior that underlies the defendant’s conduct in the commission of the

 instant offense.” (Probation Resp. at 2). The government agrees. And even if Shkreli

 were somehow able to develop a potential cure, there is no evidence that he would in fact

 use it to “contribute to the betterment of society,” as he claims (Shkreli Mot. 19), rather

 than to enrich himself to the maximum extent possible, including by concealing his work

 or declining to provide such a cure to others unless he were paid an exorbitant sum. As

 the evidence at trial demonstrated, Shkreli’s involvement in the search for cures to

 diseases was primarily motivated by the potential to make tremendous profits. (See Trial

 Tr. at 963-65 (testimony of investor Sarah Hassan). This evidence is buttressed by

 Shkreli’s track record, culminating in his decision as the CEO of Turing to inflate the

 price of Daraprim, which treats a deadly parasitic infection called toxoplasmosis that

 afflicts individuals with HIV/AIDS and transplant patients, from $13.50 per pill to

 $750. Indeed, Shkreli, in reference to the company’s acquisition of Daraprim, stated

 “$1bn here we come” in an email to the chairman of Turing’s Board of Directors, in

 reference to the potential profit that Turing—including Shkreli and the rest of the

 company’s shareholders—stood to



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 make. (See http://money.cnn.com/2016/02/03/news/shkreli-turing-daraprim-price-

 house-hearing/index.html). Additionally, in December 2015, at the Forbes Healthcare

 Summit, Shkreli was asked about whether he would have done anything differently in

 relation to the Daraprim drug increase after he received significant negative publicity,

 and he replied, “I probably would have raised the price higher is probably what I would

 have done.” (See https://www.forbes.com/sites/matthewherper/2016/01/20/solving-

 pharmas-shkreli-problem/#4b0abb066be3). He explained, “I could have raised it higher

 and made more profits for our shareholders.” (Id.). There is no evidence that Shkreli has

 changed in this, or any other, respect.

                Third, despite Shkreli’s repeated reference to agreeing to “serve the remainder of

 his prison sentence in home confinement” (Shkreli Mot. 1, 20-21), “the only way to grant [him]

 the relief [he] seeks (i.e., release from prison) under Section 3582(c) is to reduce [his] sentence

 to time served—in other words, to permanently release [him].” Roberts, 2020 WL 1700032, at

 *3 (emphasis in original); see also United States v. Ogarro, No. 18-CR-373 (RJS), 2020 WL

 1876300, at *6 (S.D.N.Y. Apr. 14, 2020); United States v. Miller, No. 16-20222-1, 2020 WL

 1814084, at *2 (E.D. Mich. Apr. 9, 2020); United States v. Urso, 03-CR-1382 (NGG), 2019 WL

 5423431, at *1 (E.D.N.Y. Oct. 23, 2019); 18 U.S.C. § 3621(b). In theory, the Court could so

 reduce Shkreli’s sentence, and also order that he be confined to his fiancée’s apartment for an

 additional period of time as a special condition of supervised release. But even assuming

 arguendo that release to supervised release with a condition of home confinement after serving

 less than half of a prison sentence were otherwise consistent with Section 3553(a) in this case,

 such a condition here would be both effectively unenforceable, both because it is difficult to

 detect a violation generally, and for a violation to have consequences, Shkreli would have to be



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 returned to prison, after he has been exposed to multiple others in New York City at the height of

 the pandemic. 9

                                         CONCLUSION

        For the foregoing reasons, Shkreli’s motion should be denied.

 Dated: New York, New York
        April 28, 2020
                                              Respectfully submitted,

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  Moreover, Shkreli is seeking to be released from FCI Allenwood Low, where there are no cases
 of COVID-19 among staff or inmates, to an apartment in New York City, which is the epicenter
 of the COVID-19 crisis, with more than 157,700 confirmed cases and almost 12,000 deaths.
 (See https://www1.nyc.gov/site/doh/covid/covid-19-data.page, last visited on April 28, 2020 at
 5:00 p.m.). Cf. United States v. Davenport, No. 17-CR-61 (LAP) (S.D.N.Y. Apr. 9, 2020) (Dkt.
 255, at 2) (denying motion of defendant with diabetes and heart disease; explaining “that there
 are no current cases of COVID-19 at Schuylkill but that Haverford, the town in which [the
 defendant] proposes to be released, has one of the highest rates of COVID-19 infection in the
 Commonwealth of Pennsylvania”).

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